
Per curiam.
Respondent, who was previously disciplined by this court (Supreme Court Disciplinary No. 431, 255 Ga. 266 (1985)) has been found to have a drug and/or alcohol problem which impairs his competence as an attorney. Proceedings below demonstrate that he has been arrested and convicted numerous times for DUI and public drunkenness, and that he has appeared in court in a state of intoxication and has failed to appear in court. Based upon State Bar Rule 4-104 the Review Panel of the State Disciplinary Board, has recommended he be removed from the practice of law. We follow that recommendation. Danny J. Lovell is hereby removed from the practice of law and his name ordered stricken from the roll of attorneys.

All the Justices concur.

